Case 19-12541-JDW        Doc 20    Filed 09/03/19 Entered 09/03/19 16:03:26             Desc Main
                                   Document     Page 1 of 2


                 IN THE UNITED STATES BANKRUPTCY COURT FOR
                     THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE:                                                               CHAPTER 13 CASE NO.:

JIMMY DELL SKELTON AND
SABRINA L. SKELTON                                                               19-12541-JDW

              OBJECTION TO CONFIRMATION OF FIRST AMENDED PLAN

         COMES NOW the Chapter 13 Trustee, Locke D. Barkley (the “Trustee”), by and through

counsel, after conducting the Section 341(a) Meeting of Creditors, reviewing the Petition,

Schedules, and Statement of Financial Affairs, and files this Objection to Confirmation of First

Amended Plan (the “Objection”), and in support thereof states as follows:

         1.    The Debtors commenced this proceeding by filing a Voluntary Petition on June 23,

2019 (the “Petition Date”). The Debtors filed a proposed First Amended Chapter 13 Plan (Dkt.

#18) (the “Plan”) on August 28, 2019.

         2.    The Debtors are below median income and the proposed term of the Plan is sixty

(60) months. The Plan does not provide for a distribution to nonpriority unsecured creditors.

         3.    The Plan fails to comply with 11 U.S.C. §§ 1325(a)(1) and 1325(a)(3). The Plan

has not been proposed in good faith because the Debtors failed to provide for the treatment of the

secured claim(s) of Fidelity National Loans (Claim #18-1). The form plan approved by this Court

provides that, “[t]he treatment of ALL secured and priority debts must be provided for in this

plan.”

         4.    The Debtors should timely remit all plan payments due under the Plan prior to the

hearing or the case should be dismissed for failure to comply with the proposed Plan.




                                                1
Case 19-12541-JDW        Doc 20      Filed 09/03/19 Entered 09/03/19 16:03:26            Desc Main
                                     Document     Page 2 of 2


       5.      For the reasons set forth herein, the Trustee submits that Confirmation of the Plan

should be denied and the case dismissed.

       WHEREFORE, PREMISES CONSIDERED, the Trustee respectfully requests that upon

notice and hearing that this Court enter its order sustaining the Objection. The Trustee prays for

other such general and specific relief to which Trustee and this bankruptcy estate may be entitled.

       Dated: September 3, 2019.

                                       Respectfully submitted,

                                       LOCKE D. BARKLEY
                                       CHAPTER 13 TRUSTEE

                               BY:     /s/ Melanie T. Vardaman
                                       ATTORNEYS FOR TRUSTEE
                                       W. Jeffrey Collier (MSB 10645)
                                       Melanie T. Vardaman (MSB 100392)
                                       6360 I-55 North, Suite 140
                                       Jackson, Miss. 39211
                                       (601) 355-6661
                                       mvardaman@barkley13.com

                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney for the Trustee, do hereby certify that I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I either
mailed by United States Postal Service, first class, postage prepaid, or electronically notified
through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney for the
Debtor, the United States Trustee, and other parties in interest, if any, as identified below.

       Dated: September 3, 2019.

                                              /s/ Melanie T. Vardaman
                                              MELANIE T. VARDAMAN




                                                 2
